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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK



  DAILY NEWS, LP; CHICAGO TRIBUNE
  COMPANY, LLC; ORLANDO SENTINEL
  COMMUNICATIONS COMPANY, LLC; SUN-
  SENTINEL COMPANY, LLC; SAN JOSE
  MERCURY- NEWS, LLC; DP MEDIA
  NETWORK, LLC; ORB PUBLISHING, LLC; and
  NORTHWEST PUBLICATIONS, LLC,                 Case No. 1:24-cv-03285-SHS

                   Plaintiffs,

           v.

  MICROSOFT CORPORATION, OPENAI, INC.,
  OPENAI LP, OPENAI GP, LLC, OPENAI, LLC,
  OPENAI OPCO, LLC, OPENAI GLOBAL, LLC,
  OAI CORPORATION, LLC, and OPENAI
  HOLDINGS, LLC,
                  Defendants.




          DEFENDANT MICROSOFT CORPORATION’S MEMORANDUM
        IN SUPPORT OF PARTIAL MOTION TO DISMISS THE COMPLAINT




June 11, 2024
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                                PRELIMINARY STATEMENT

       Eight newspapers have filed this follow-on lawsuit challenging generative AI tools

offered by Microsoft and OpenAI. As Plaintiffs acknowledge, their Complaint largely repeats

the claims and allegations from the Complaint in The New York Times v. Microsoft, a related case

pending before this Court. So, unsurprisingly, this Complaint contains the same deficiencies—

including fatal defects in the contributory copyright infringement, DMCA, and state law

misappropriation claims addressed in this motion to dismiss. But two aspects of the Complaint

here are uniquely telling.

       First, this Complaint omits The Times’ unsubstantiated prediction that Microsoft and

OpenAI’s tools will somehow destroy independent journalism—evidently a talking point these

Plaintiffs do not believe they can substantiate. And like The Times’ Complaint, this one elides

the key technical and legal fact that will ultimately decide this case: Microsoft and OpenAI’s

tools neither exploit the protected expression in the Plaintiffs’ digital content nor replace it—they

extract and share elements of language, culture, ideas, and knowledge that belong to all of us.

That is why The Times’ and Plaintiffs’ claims ultimately fail under the doctrine of fair use.

       Second, much like The Times, Plaintiffs here assert that Defendants’ GPT-based products

are capable of being prompted to output snippets of Plaintiffs’ protected works, yet point to no

example generated under real-world conditions. What is so telling this time is that Plaintiffs

filed their Complaint four months after The Times, and a month after the motions to dismiss in

that case were fully briefed—despite every incentive and months of opportunity to locate some

real-world substantiation for their claims, they came up with nothing. They therefore proceed on

the basis of the same contrived prompts and rigged outputs as The Times did—examples that

show at most what highly versatile LLMs are capable of doing, not what they have or will

actually do when used by the public.
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       Plaintiffs’ failures merit dismissal of the same three claims Microsoft moved to dismiss

from The Times’ Complaint. The contributory infringement claim against Microsoft based on

purported end-user infringement fails because Plaintiffs have not alleged either a real-world

instance of infringement of their works, nor Microsoft’s knowledge of specific instances of

infringement to which it could have knowingly contributed. Part I, infra. Plaintiffs’ DMCA

§ 1202 claims fail because they can allege neither that removal of CMI from their works would

ever lead to piracy of those works, nor that the GPT-based products would ever output the sorts

of identical copies of works that are required under § 1202. Part II, infra. And Plaintiffs’ attempt

at a state-law misappropriation claim based on “hot news” is just a copyright claim in disguise,

and therefore is preempted by the Copyright Act. Part III, infra. These claims should be

dismissed.

       Finally, Plaintiffs assert a state-law trademark dilution claim not presented in The Times’

Complaint. By asserting this claim, Plaintiffs seek to deploy New York law to directly regulate

transactions occurring wholly out of state, governing what content may appear on computer

screens nationwide, in plain violation of the dormant Commerce Clause. Part IV, infra. This

claim too should be dismissed.

                           ALLEGATIONS OF THE COMPLAINT

       A.      Large Language Models Are A Profound Advance In Artificial Intelligence
               And A Powerful Tool For Human Flourishing.

       Over the past several years, scientists and engineers have made dramatic advances in the

field of artificial intelligence. Perhaps the most astounding is the “large language model,” or

LLM. As relevant here, an LLM is a machine learning model that can process and produce

natural language text. Compl. ¶¶ 58, 61, 73, 78.




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       At the heart of an LLM is a computer algorithm called a “transformer.” See Compl. ¶ 80.

To create a model, engineers engage in a step called “training,” in which they feed large amounts

of text through the transformer. Compl. ¶¶ 72, 74. As this happens, the LLM separates the text

into “tokens”—words, punctuation, and so forth. See Compl. ¶ 84. Across the entire “training

set” or “training corpus,” the model then discerns semantic patterns among tokens, which it

“encode[s] … as numbers called ‘parameters.’” Compl. ¶¶ 74, 88. A highly sophisticated model

trained on a large corpus might have trillions of tokens and parameters. See, e.g., Compl. ¶ 88

(alleging that GPT-4 contains “13 trillion tokens” and “1.8 trillion parameters”). It is this

extensive network of semantic connections that allows the model to emit natural-language text.

Compl. ¶¶ 72-74.

       LLMs are sometimes referred to as “general purpose” or “foundational” AI models

because their language capabilities have many applications. “Once trained, LLMs may be

provided with information specific to a use case or subject matter,” Compl. ¶ 78, enabling them

to assist a human user with that use case or subject. That user directs the LLM’s

performance through user-selected “prompts” to which the model responds. Compl. ¶¶ 58, 73.

       As reflected in various sources incorporated by reference into the Complaint, Microsoft

believes that LLMs “can so deeply absorb the nuances of language, grammar, knowledge,

concepts, and context that [they] can excel at multiple tasks,” promising untold applications that

will improve people’s lives. Jennifer Langston, Microsoft announces new supercomputer, lays

out vision for future AI work, news.microsoft.com/source/features/ai/openai-azure-

supercomputer (May 19, 2020) (cited at Compl. ¶ 67 n.11). Microsoft has also urged the need

for a responsible approach to such powerful technology, routinely stressing the importance of

“responsible AI and AI safety” from the highest levels of the company. Compl. ¶¶ 68, 91.


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       B.      Microsoft Collaborates With OpenAI To Bring GPT-Based Tools To The
               Public.

       OpenAI was “formed in December 2015 as a ‘non-profit artificial intelligence research

company.’” Compl. ¶ 52. OpenAI has developed several versions of its foundational LLMs,

built on its “Generative Pre-training Transformer” or GPT. Compl. ¶¶ 19, 55-56. “OpenAI

became a household name upon the release of ChatGPT,” a “text-generating chatbot” powered

by an underlying GPT model, that “given user-generated prompts, can mimic humanlike natural

language responses.” Compl. ¶ 58. Since 2019, Microsoft has collaborated with OpenAI to

bring GPT-based products to the public, providing technological infrastructure and cloud

computing services. Compl. ¶¶ 63, 65, 67.

       The Microsoft-OpenAI collaboration has helped bring the immense promise of LLMs to

the public. Compl. ¶ 79. Microsoft offers “Azure OpenAI Service,” used by “18,000

organizations.” Compl. ¶ 30. It also offers “Bing Chat (now Copilot), a generative AI chatbot

feature on its search engine powered by GPT-4.” Compl. ¶ 69. And “Microsoft and OpenAI

unveiled ‘Browse with Bing,’ a plugin to ChatGPT that enabled it to access the latest content on

the internet through the Microsoft Bing search engine.” Compl. ¶ 69.

       C.      Eight Publishers Sue Microsoft and OpenAI.

       The newspapers that bring this lawsuit “publish[] digital and print products.” Compl.

¶¶ 21-28. Plaintiffs allege that “[m]illions of [their] Works were copied and ingested” in training

OpenAI’s GPT models, such that pieces of these works are among the trillions of tokens and

parameters from which predictive natural language responses are generated. Compl. ¶¶ 88, 90.

       The Complaint alleges eight causes of action against Microsoft based on multiple legal

theories. Compl. ¶¶ 190-254. The first count of the Complaint alleges that Microsoft engaged in

direct copyright infringement based on theories involving “training” of OpenAI’s models,


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Compl. ¶ 193; “storing, processing, and reproducing the GPT models … on Microsoft’s

supercomputing platform,” Compl. ¶ 195; and “disseminating generative output” to users,

Compl. ¶ 196. The second two counts allege vicarious and contributory infringement against

Microsoft for its role in the direct infringement by OpenAI alleged in Count I. Compl. ¶¶ 202-06

(vicarious infringement); Compl. ¶¶ 207-10 (contributory infringement). These three claims are

not at issue in this motion. These claims will ultimately turn, among other things, on a fair-use

defense under 17 U.S.C. § 107 not suited to the pleading stage. The Complaint’s seventh cause

of action—a trademark tarnishment theory suggesting that “lower-quality and inaccurate” output

could “dilute[] the quality of the Diluted Trademarks”—is also not at issue in this motion.

Compl. ¶¶ 233-49; see 15 U.S.C. § 1125(c).

          At issue here are Counts IV, V, VI, and VIII. The fourth count alleges an alternative

theory of contributory infringement against Microsoft and OpenAI. Compl. ¶¶ 211-14. This

claim anticipates another defense to one of the direct infringement claims—that it is the user, not

Microsoft or OpenAI, who is the direct infringer of a “user-generated prompt[],” Compl. ¶ 58,

resulting in an infringing output. The Complaint alleges that “to the extent an end-user may be

liable as a direct infringer based on output of the GPT-based products, Defendants materially

contributed to and directly assisted with the direct infringement perpetrated by end-users.”

Compl. ¶ 212. It claims that “Defendants had either actual knowledge or constructive

knowledge” of infringement because they “have recognized … that GPT-based products are

capable of distributing unlicensed copies of copyrighted works.” Compl. ¶ 214 (emphasis

added).

          The Complaint’s fifth cause of action alleges violation of § 1202 of the DMCA, which

protects against the removal of “copyright management information,” or CMI, from copies of


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works. The Complaint alleges that Microsoft and OpenAI “removed the Publishers’ copyright-

management information” in “building the training datasets,” “generating synthetic search

results,” and “generating outputs from the GPT models.” Compl. ¶¶ 218-21 (invoking 17 U.S.C.

§ 1202(b)(1)). It also alleges that Defendants “distribut[ed]” works knowing that CMI was

removed. Compl. ¶ 223 (invoking 17 U.S.C. § 1202(b)(3)).

       The Complaint’s sixth cause of action alleges common law unfair competition by

misappropriation. Plaintiffs allege that “[b]y offering GenAI content that is the same as or

similar to content published by the Publishers, Defendants’ GenAI products directly compete

with the Publishers’ content.” Compl. ¶ 228. The Complaint alleges that Defendants

misappropriate “time-sensitive breaking news,” Compl. ¶ 227, and that this “substantially

threatens the quality of the Publishers’ content and disincentives the Publishers to produce their

content.” Compl. ¶ 232.

       The Complaint’s eighth cause of action alleges dilution of business reputation under New

York’s General Business Law § 360-1, largely replicating the separate claim for trademark

dilution under the Lanham Act. Compl. ¶¶ 250-54. Plaintiffs allege that they possess

“[t]rademarks [with] a distinctive quality … since long before Defendants adopted and began”

allegedly “us[ing] … the … [t]rademarks.” Compl. ¶ 251. The Complaint alleges that

“Defendants are aware that their GPT-based products produce inaccurate content that is falsely

attributed to” Plaintiffs, and “profit commercially from creating and attributing inaccurate

content to” Plaintiffs. Compl. ¶ 253.

       D.      The Complaint Alleges No Real-World Instance of Output of Plaintiffs’
               Works or Impact to Plaintiffs’ Rights.

       The Complaint is filled with attempts to establish that GPT-based products “will output

near-verbatim copies of significant portions of Publishers’ Works when prompted to do so.”

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Compl. ¶ 96; see Compl. ¶¶ 97-113. But it pleads no specific instance of infringement of

Plaintiffs’ works in the real world as a result of the development, offering, or use of GPT-based

products. Plaintiffs say that “given the right prompt” these products “will repeat large portions”

of Plaintiffs’ works, Compl. ¶ 77, offering various examples that compare the text of an article to

model output. But Plaintiffs bury “the right prompt” in an exhibit, which admits that the prompts

each “comprise[] the beginning of an article from the Publisher”—often several verbatim

paragraphs of the work the prompt is designed to elicit. Compl. Ex. J at 1. The Complaint does

not explain why any real person, already in possession of an article by Plaintiffs, would ever

want to feed a part of that prompt into a GPT-based product to generate the rest of the article. As

mentioned, that person already has the entire article. The Complaint certainly does not allege

that any real person has done this. This is a manufactured story.

        Similarly unsubstantiated are Plaintiffs’ various warnings of harm—from “threat[s] [to]

the quality of the Publishers’ content,” Compl. ¶ 232, to hindering their “ability to attract and

retain paying subscribers,” Compl. ¶ 188, to “compet[ing] with the Publishers’ content for

traffic,” Compl. ¶ 229, to “tarnishing the newspapers’ reputations” “by falsely attributing

inaccurate reporting to the Publishers’ newspapers,” Compl. ¶ 7. All of this turns out to be mere

speculation about what Plaintiffs apparently fear might happen. Indeed, the Complaint does not

allege a single real-world example of any occurrence that could even begin to cause such harm,

let alone allege that any such harms have materialized.

                                            ARGUMENT

        To survive a motion to dismiss under Rule 12(b)(6), “a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotation marks omitted). If a claim lacks a

cognizable theory, lacks sufficient facts to plausibly support that theory, or advances a theory that
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is foreclosed as a matter of law, dismissal is appropriate. “Threadbare recitals of the elements of

a cause of action, supported by mere conclusory statements,” are insufficient. Id.

  I.   PLAINTIFFS FAIL TO STATE A CLAIM FOR CONTRIBUTORY
       INFRINGEMENT BASED ON USER OUTPUTS.

       Plaintiffs fail to state a claim that Microsoft has contributed to end-user copyright

infringement. See Compl. ¶¶ 211-14 (Count IV). A contributory infringer is “one who, with

knowledge of the infringing activity, induces, causes or materially contributes to the infringing

conduct of another.” Gershwin Publ’g Corp. v. Columbia Artists Mgmt., Inc., 443 F.2d 1159,

1162 (2d Cir. 1971). The Complaint does not allege that Microsoft encouraged end-users to

make infringing use of any GPT-based product, acted in a way that would promote such

infringing use, or did anything to induce such infringing use. It advances only a “material[]

contribut[ion]” theory. Compl. ¶ 212. The notion is that by offering end-users products that it

allegedly knows “are capable of distributing unlicensed copies” or “derivative[]” works,

Microsoft is a contributory infringer any time a user makes use of that capability. Compl. ¶ 214.

       This theory fails for two reasons. First, Plaintiffs fail to allege any instance of direct

infringement by a user, a necessary prerequisite to a claim for secondary liability. Part I.A, infra.

Second, Plaintiffs cannot allege that Microsoft knowingly participated in any specific

infringement. Part I.B, infra.

       A. The Complaint Fails To Allege An Actionable Instance Of End-User Copyright
          Infringement.

       “Contributory infringement necessarily must follow a finding of direct or primary

infringement.” Matthew Bender & Co. v. West Publ’g Co., 158 F.3d 693, 706 (2d Cir. 1998)

(quoting Cable/Home Communication Corp. v. Network Prods., Inc., 902 F.2d 829, 845 (11th

Cir.1990)). To allege direct infringement, a plaintiff must plead (1) its “ownership of a valid

copyright,” and (2) a primary infringer’s “copying of constituent elements of the work that are
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original”—i.e., infringement of one of the rights protected under 17 U.S.C. § 106. Feist Publ’ns,

Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991).

       In Matthew Bender, West Publishing Company, the publisher of the “National Reporter

System,” sued the publisher of electronic databases that collected judicial opinions. 158 F.3d at

697. West alleged that a user of these databases could operate them to “view (and print) judicial

opinions in the same order in which they are printed in a West volume,” thus recreating West’s

reporters. Id. On this basis, it sought to hold the “database manufacturer … liable as a

contributory infringer … for creating a product that assists a user to infringe a copyright

directly.” Id. at 706. The Second Circuit rejected the claim. Though West “hypothesized that

users … will retrieve and print cases in the order in which they appear in West’s case reporters,”

it “failed to identify any primary infringer, other than [its own] counsel.” Id.

       Plaintiffs have the same problem here. The Complaint “hypothesize[s]” that someone

could find a way to prompt the GPT-based products to yield output that is similar to one of

Plaintiffs’ works. It contains examples of prompts that yield small amounts of similar text—

prompts like multi-paragraph passages of an article, Compl. Ex. J, or cumbersome, direct

requests for specific paragraphs of a specific piece. Compl. ¶¶ 120-38. But this is purely use of

the tools by Plaintiffs or individuals directed by them with instructions to manufacture

infringement. Plaintiffs do not allege that any actual user of a GPT-based product has or would

enter such prompts to elicit Plaintiffs’ works. The bare theoretical possibility that someone

somewhere might engage in the same acrobatics Plaintiffs did here is not enough to plausibly

allege direct infringement. This warrants dismissal of the claim. See Tremblay v. OpenAI, Inc.,

No. 23-cv-03223, 2024 WL 557720, at *2-3 (N.D. Cal. Feb. 12, 2024) (dismissing vicarious




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infringement claim based on ChatGPT outputs for failure to adequately allege direct

infringement).

       B. The Complaint Fails To Allege Microsoft’s Knowledge Of Direct Infringement.

       The Complaint also fails to allege “knowledge of the infringing activity.” Gershwin, 443

F.2d at 1162. As Gershwin recognized, contributory liability is based on “the common law

doctrine that one who knowingly participates or furthers a tortious act is jointly and severally

liable with the prime tortfeasor.” Id. (emphasis added). A plaintiff must therefore allege more

than mere “[g]eneral[] know[ledge] of infringement,” especially where the defendant offers a

product or service with noninfringing uses. BMG Rights Mgmt. (US) LLC v. Cox Commc’ns,

Inc., 881 F.3d 293, 311 (4th Cir. 2018). “Selling a product with both lawful and unlawful uses

suggests an intent to cause infringement only if the seller knows of specific instances of

infringement.” Id. at 311; accord Ludvarts, LLC v. AT&T Mobility, LLC, 710 F.3d 1068, 1072-73

(9th Cir. 2013) (demanding knowledge of “specific acts of infringement”); cf. Viacom Int’l, Inc.

v. Youtube, Inc., 676 F.3d 19, 32 (2d Cir. 2012) (knowledge standard under safe harbor provision

of DMCA, 17 U.S.C. § 512(c), requires “awareness of facts or circumstances that indicate

specific and identifiable instances of infringement”).

       The bedrock requirement of knowing participation also demands that the defendant have

“actual knowledge” of (or be willfully blind to) specific acts of infringement. 710 F.3d 1068,

1072-73. It is not enough that a defendant “should have known of … infringing activity.” BMG,

881 F.3d at 310. And as a logical matter, the defendant must have knowledge of the specific act

before it takes place—that is, “predictive” knowledge—because one cannot knowingly

participate in an act learned of only after it is completed. Sony Music Ent. v. Cox Commc’ns,

Inc., 93 F.4th 222, 234 (4th Cir. 2024).



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       The Complaint does not come close to meeting this high bar. It alleges that Defendants

knew or had reason to know of “the direct infringement by end-users because … Defendants

undertake extensive efforts in developing, testing, and troubleshooting their LLM models and

GPT-based products.” Compl. ¶ 214. It also says that “the capability of their GPT-based models

to produce infringing output has been the subject of public conversation,” that “Defendants are

aware that at least some users use their GPT-based products for the purpose of accessing

copyrighted works,” and that “Defendants have publicly recognized and admitted that their GPT-

based products are capable of distributing unlicensed copies of copyrighted works.” Compl.

¶ 214. But these formulaic allegations do not identify a “specific act[] of infringement,”

Ludvarts, 710 F.3d at 1072-73, let alone allege Microsoft’s actual knowledge of one before it

takes place such that one could infer Microsoft’s knowing participation.

       The same problem sinks Plaintiffs’ vague allegation that “Defendants programmed their

systems to flag infringing outputs and prompts seeking infringing output.” Compl. ¶ 214. It is

unclear what Plaintiffs mean by any of this—what it means to “flag” outputs or prompts, or what

Microsoft allegedly did upon such flagging. But whatever Plaintiffs intend, they do not allege

that Microsoft, via these alleged systems, knew of any specific act of infringement before or

while it was happening, and then knowingly participated in that act. If anything, all this

allegation appears to do is acknowledge that Microsoft is taking precautionary measures to

ensure infringing outputs do not happen in the first place. This vague, bare insinuation therefore

does not save Plaintiffs’ claim.

       At most, Plaintiffs’ allegations establish Microsoft’s awareness that someone could use a

GPT-based product to infringe. The same was true of the VCR—as it is of word processors, hard

drives, social media feeds, internet connections, and so forth. Since Sony Corp. of Am. v.


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Universal City Studios, the law has barred liability based on “the equivocal conduct of selling an

item with substantial lawful as well as unlawful uses,” “limit[ing] liability to instances of more

acute fault than the mere understanding that some of one’s products will be misused.” MGM

Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 932-33 (2005).

    II.   PLAINTIFFS FAIL TO STATE A DMCA § 1202 CLAIM.

          Plaintiffs also fail to state a claim under either § 1202(b)(1) or (b)(3) of the DMCA. See

Compl. ¶¶ 215-225 (Count V). Section 1202 is one of two adjoining provisions that aims to

thwart digital piracy. S. Rep. No. 105-190 at 11 n.18 (1998) (DMCA aimed to “discourage

piracy”). It protects the “[i]ntegrity of copyright management information”—defined as

“information conveyed in connection with copies … of a work”—on the rationale that removal

or falsification of that information aids the spread of pirated copies. Id. at 34, 89. To state a

claim under § 1202(b)(1), a plaintiff must allege that the defendant “intentionally remov[ed] or

alter[ed]” CMI from a copy of a work. 17 U.S.C. § 1202(b)(1). To state a claim under

§ 1202(b)(3), a plaintiff must plausibly allege that the defendant “distribute[d]” copies of works

“knowing that [CMI] has been removed or altered without authority of the copyright owner[.]”

And for both claims, a plaintiff must further establish that the defendant removed or distributed

CMI “knowing, or ... having reasonable grounds to know, that it will induce, enable, facilitate, or

conceal an infringement of any right under this title.” 17 U.S.C. § 1202(b).

          Over the past year and a half, courts have repeatedly rejected challenges to generative AI

tools based on § 1202.1 These decisions establish that neither the highly technical process of

training an LLM nor the generated outputs of that LLM implicate the sort of piracy concerns


1
 See Tremblay, 2024 WL 557720, at *4-5 (challenge to ChatGPT); Doe 1 v. GitHub, Inc., No.
22-cv-6823, 2024 WL 235217, at *8-9 (N.D. Cal. Jan. 22, 2024) (challenge to GPT-based
“Codex” model); Andersen v. Stability AI Ltd., No. 23-cv-00201, 2023 WL 7132064, at *10-11
(N.D. Cal. Oct. 30, 2023).
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animating § 1202. Section 1202 claims are fundamentally inapt when applied to a machine that

generates brand new language in the form of conversational excerpts or snippets of information.

       The claims here fail for the same two reasons the others have. First, Plaintiffs cannot

allege Microsoft’s culpable awareness that removal of CMI will “induce, enable, facilitate, or

conceal an infringement” of their works. Part II.A., infra. And second, they cannot allege CMI

was removed from identical copies of their works, as required. Part II.B., infra.

       A. The Complaint Does Not Plausibly Allege Microsoft’s Intent To Induce, Enable,
          Facilitate, Or Conceal Infringement By Removal Of CMI.

       Because it is an anti-piracy statute, § 1202 is careful not to impose liability on a

defendant whose removal of CMI has only the incidental effect of aiding or concealing copyright

infringement. It enacts this limitation through a stringent “double-scienter requirement.” Mango

v. BuzzFeed, Inc., 970 F.3d 167, 172 (2d Cir. 2020). The first half of the requirement demands

that the defendant’s conduct—removal of CMI, alteration of CMI, and so forth—be intentional

(for subsection (b)(1)) or knowing (for subsection (b)(3)). See id. The second half, at issue here,

requires that the “defendant know or have reason to know” that its conduct “will induce, enable,

facilitate, or conceal an infringement.” Id.

       Though this latter requirement is phrased as a scienter standard, courts have recognized

that it carries an objective component in cases involving technology that may incidentally

remove CMI. Unless a plaintiff can point to direct facts revealing the defendant’s subjective

belief that removal of CMI will facilitate infringement, it must plausibly allege that, as a result of

technology’s removal of CMI, infringement is objectively “likely.” Stevens v. Corelogic, Inc.,

899 F.3d 666, 675 (9th Cir. 2018). Otherwise there is no basis for inferring that a defendant “was

aware or had reasonable grounds to be aware” that “the probable future impact of its actions”

would be infringement. Id. at 674.

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       The Complaint fails to plausibly allege this likelihood. It alleges (mostly “upon

information and belief”) that “Defendants” removed CMI “in building the training datasets,”

Compl. ¶ 218, “through generating synthetic search results,” Compl. ¶ 219, and “in generating

outputs from the GPT models,” Compl. ¶ 220. And it then advances only the conclusory

assertion that the Defendants’ conduct “has been done knowingly and with the intent to induce,

enable, facilitate, or conceal Defendants’ or end-users’ infringement of the Publishers’

copyrights.” Compl. ¶ 222. That is just a “[t]hreadbare recital[] of” an “element[] of [the] cause

of action,” insufficient to state a claim. Ashcroft, 556 U.S. at 678. Nor do allegations elsewhere

in the Complaint suggest that Microsoft intended, by removing CMI, to further any infringement.

       Alleged infringement during training and development. With respect to Microsoft’s

alleged conduct in training the GPT models, the Complaint alleges various acts involving

“scraping,” “storing,” “processing,” and “reproducing” works to “build [a] training dataset[].”

Compl. ¶¶ 193-94; see Compl. ¶¶ 157, 161. It also alleges that “storing, processing, and

reproducing the GPT models” themselves constitutes infringement of plaintiffs’ works. Compl.

¶ 195. But it makes no sense to base a CMI claim on alleged infringement during training. The

point of CMI, and thus § 1202’s protections, is to “inform the public that something is

copyrighted.” Roberts v. BroadwayHD LLC, 518 F. Supp. 3d 719, 737 (S.D.N.Y. 2021)

(emphasis added); Fashion Nova, LLC v. Blush Mark, Inc., No. 22-cv-6127, 2023 WL 4307646,

at *5 (C.D. Cal. June 30, 2023) (“[T]he purpose of CMI is to provide the public with notice that

a work is copyrighted.”) (emphasis added). Training takes place out of public view, and training

data itself is not disseminated. That is why the court in Tremblay rejected the theory that

“knowing removal of CMI from … books during the training process” could violate § 1202.

2024 WL 557720, at *4. The Complaint does not plausibly allege how the training or


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development of the models could somehow facilitate Defendants’ or anyone else’s alleged

infringement: The Complaint provides no information about whom removal of CMI would

conceal infringement from, or how removal could conceivably make it easier for anyone to train

a model using copyrighted works when training takes place outside of public view.

        In any event, the Complaint concedes away any claim that Microsoft intends to facilitate

infringement during training by acknowledging Microsoft’s strong belief that it is “entitled to

copy and use any written product” for the purpose of “train[ing] [its] GenAI systems.” Compl.

¶ 14. Microsoft bases this belief on (among other things) the doctrine of fair use. As § 107 of

the Copyright Act makes plain, “the fair use of a copyrighted work … is not an infringement of

copyright,” (emphasis added). And the Complaint does not allege that Microsoft’s belief in its

rights is ingenuine or objectively unreasonable. A defendant that believes its conduct is lawful

cannot also believe it is infringing. Microsoft’s good-faith, objectively reasonable belief that it is

not infringing thus negates any inference that it knew or should have known it was facilitating or

concealing infringement by allegedly removing CMI. Cf. Mango, 970 F.3d at 173 (relying on

defendant’s acknowledgement that “he was required to get permission” to conclude that

defendant should have known that removal of CMI would “wrongfully impl[y] … permission”).

        Allegedly infringing output. The Complaint also fails to allege scienter based on alleged

outputs from a GPT-based product. This is for much the same reason Plaintiffs’ theory of

contributory infringement fails: The Complaint does not plausibly allege actual user conduct

that yields likely infringing outputs in the first place, so it cannot possibly raise the inference that

Microsoft somehow intended, knew about, or should have known about such behavior. See

supra 9. And even if the Complaint did allege user conduct that might yield infringing outputs,




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it offers no theory of how the alleged absence of CMI would in any way facilitate that

infringement or make it harder to police it than it would be if CMI were preserved.

       The Complaint instead describes how copies of Plaintiffs’ works could, in theory, be

output by GPT-based products, Compl. ¶¶ 144-45, 147, and alleges that Defendants have policies

that limit or address such outputs, Compl. ¶¶ 153-56. But taking these allegations as true, they

make any infringement less likely, and demonstrate that Defendants have taken steps to avoid

any incidental effects of CMI removal—the opposite of what Plaintiffs must allege to establish

that Defendants acted with knowledge that removal of CMI would facilitate infringement.

       In any event, the only examples the Complaint provides of the GPT-based products

outputting Plaintiffs’ works are those initiated by Plaintiffs’ own contrived prompting, all of

which involved Plaintiffs inputting or requesting content from their own newspapers. If

someone already has a particular article with which to prompt ChatGPT, or already has the title

of the article to enter as a prompt, the presence or absence of CMI is irrelevant. The user already

knows where the article is from. The Complaint does not explain how the absence of CMI in

this situation could ever cause the user to behave differently or hinder efforts to thwart

infringement.

       The Ninth Circuit’s decision in Stevens v. Corelogic, Inc. is on point. 899 F.3d 666 (9th

Cir. 2018). Stevens involved the defendant’s removal of CMI metadata from photographs as part

of technological “[d]ownsampling”—i.e., compression. Id. at 671. Plaintiff photographers

suggested that this somehow would aid infringement. But they “ha[d] not … averred that they

ha[d] ever used CMI metadata to prevent or detect copyright infringement.” Id. at 675. Nor

could they establish that the defendant was aware of a third-party “pattern of conduct” or

“established modus operandi” giving rise to an inference that the defendant was “aware of the


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probable future impact of its actions” with respect to CMI. Id. at 674. The plaintiffs therefore

could not establish that any removal of CMI was done with an awareness that it would facilitate

infringement. Id. at 675. Courts have not hesitated to apply Stevens at the pleading stage, and

doing so is appropriate here.2

       B. The Complaint Does Not Plausibly Allege “Removal” Of CMI From Copies Of
          Identical Works.

       Plaintiffs’ CMI claims fail for the further reason that the Complaint does not allege the

active “removal” of CMI from an identical copy of a work, as required under § 1202(b). See

Doe 1 v. GitHub, Inc., No. 22-cv-06823, 2024 WL 235217, at *8-9 (N.D. Cal. Jan. 22, 2024)

(“Section 1202(b) claims require that copies be identical.”) (internal quotation marks omitted).

Because it is an anti-piracy statute, § 1202 focuses on removal of CMI from copies of works that

could potentially be pirated. Several aspects of the text bear this out. First, § 1202 explicitly

defines CMI as “information conveyed in connection with copies … of a work,” (emphasis

added)—that is, in connection with the “material objects” in which the work is “fixed,” 17

U.S.C. § 101—and not, more abstractly, with the underlying work itself. And second,

§ 1202(b)(1) and (b)(3) use the term “remove,” which connotes some active conduct. To

“remove” is “to move by lifting, pushing aside, or taking away or off” or “to get rid of.”

Webster’s Third New International Dictionary 1921 (2002).

       It makes no sense to speak of removing CMI from something that is different than the

work with which the CMI was conveyed. One cannot “remove” something where it never

existed in the first place. The plain meaning of the noun “copy” is an “imitation,”

“transcri[ption],” “reproduc[tion],” or otherwise the product of “duplicat[ion].” Webster’s Third



2
 See Tremblay, 2024 WL 557720, at *4-5; Andersen, 2023 WL 7132064, at *10; Free Speech
Sys., LLC v. Menzel, 390 F. Supp. 3d 1162, 1174-75 (N.D. Cal. 2019).
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New International Dictionary 504 (2002). “Copy” implies sameness, not difference. If Congress

had intended that § 1202 cover claims involving altered versions, it could have added words to

encompass “alterations,” “abridgments,” “adaptations,” “derivatives,” or any of a number of

other words previously used by Congress in the Copyright Act to indicate something other than a

copy. That Congress did not do so indicates an intent that the claim address only identical rather

than modified versions of a work.

       Applying these statutory terms, courts have consistently rejected § 1202(b) claims where

a defendant allegedly removed CMI from—or merely failed to transpose CMI to—an excerpt or

modification of the original copy with which the CMI was included. Courts have thus rejected

DMCA claims relating to the same underlying technology in question here based on the copying

of excerpts or modified versions of underlying material. Doe 1, 2024 WL 235217, at *8-9

(holding in the context of Microsoft AI technology that “no DMCA violation exists unless the

works are identical”) (citation omitted). Applying the same principle, courts have rejected

claims based on mere “framing” of a photograph in a way that does not include CMI, Falkner v.

Gen. Motors LLC, 393 F. Supp. 3d 927, 938-39 (C.D. Cal. 2018); excerpting lecture notes and

study questions from textbooks without reproducing CMI, Faulkner Press, L.L.C. v. Class Notes,

L.L.C., 756 F. Supp. 2d 1352, 1356, 1359 (N.D. Fla. 2010); copying “aspects” of architectural

works but “omitting” the plaintiff’s CMI, Design Basics, LLC v. WK Olson Architects, Inc., No.

17-cv-7432, 2019 WL 527535, at *5 (N.D. Ill. Feb. 11, 2019); or incorporating the underlying

content from the original copy into some different form or distinct work without CMI, Kelly v.

Arriba Soft Corp., 77 F. Supp. 2d 1116, 1122 (C.D. Cal. 1999) (thumbnail versions of images),

rev’d on other grounds, 336 F.3d 811 (9th Cir. 2003). In short, a CMI-removal claim lies only




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with respect to copies of works that are “substantially or entirely reproduced.” Fischer v.

Forrest, 286 F. Supp. 3d 590, 609 (S.D.N.Y. 2018).

       Similarly, courts have rejected § 1202(b) claims where a defendant “created [a] derivative

work” without transposing CMI, because that cannot establish that the defendant “removed

[CMI] from [the] original work.” Frost-Tsuji Architects v. Highway Inn, Inc., No. 13-cv-00496,

2015 WL 263556, at *3-4 (D. Haw. Jan. 21, 2015), aff’d, 700 F. App’x 674 (9th Cir. 2017). And

they have emphasized that § 1202 “does not prohibit merely omitting CMI from an infringing

work.” Dolls Kill, Inc. v. Zoetop Bus. Co., No. 22-cv-01463, 2022 WL 16961477, at *3 (C.D.

Cal. Aug. 25, 2022); see A’Lor Int’l, Ltd. v. Tappers Fine Jewelry, Inc., No. 12-cv-02215, 2012

WL 12921035, at *10 (C.D. Cal. Aug. 8, 2012) (“omissions” of CMI not actionable). The

Complaint fails to identify identical copies from which CMI was removed.

       Synthetic search results. With respect to alleged removal of CMI from “synthetic search

results” returned by the GPT-based Bing tools, the Complaint vaguely refers to “copies” and

“derivatives of the Publishers’ Works,” without explaining what precisely is at issue. Compl.

¶ 219. But elsewhere the Complaint admits what these synthetic search results really are: In

“answer [to] user queries,” the synthetic results “may include extensive paraphrases and direct

quotes.” Compl. ¶ 69. The mere non-inclusion of CMI with “paraphrases” or “quotes” does not

constitute removal of CMI from a substantially identical copy of a work. Doe 1, 2024 WL

235217, at *8-9.

       End-user outputs. Similarly deficient are the Complaint’s allegations with respect to

ChatGPT outputs—the ones returned in response to explicit requests for content from specific

articles in plaintiffs’ specific newspapers. As the Complaint acknowledges, even these prompts

generate only “verbatim excerpts” (which, of course, the prompter already knows are from the


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specific article in the specific newspaper requested in the prompt). E.g., Compl. ¶¶ 99 (emphasis

added), 101, 103, 105, 107, 109, 111; see Compl. ¶ 96 (“near-verbatim copies of significant

portions of the Publishers’ Works”) (emphasis added). Many of Plaintiffs’ prompts specifically

request only excerpts. Compl. ¶¶ 100, 102, 104, 106 (requesting “the first five paragraphs” of

specific articles). The non-inclusion of CMI from an excerpt of a work is nothing like tearing out a

book’s copyright page or obscuring the gutter credit on a photograph. The latter acts involve

active conduct directed at the CMI on a copy of a work. The functioning of the GPT-based

products, as alleged in the Complaint, at most amounts to incidental omission of CMI from a

short generated passage of a work. See supra 19 (collecting cases).

       Training materials. This leaves only the Complaint’s conclusory allegation that “[o]n

information and belief, Defendants removed” CMI “in building the training datasets.” Compl.

¶ 218. It is not clear what Plaintiffs are alleging here, because nothing in the Complaint

describes the “scraping” or “building” that Plaintiffs allege. This vague allegation fails to

identify any actual copy from which CMI is allegedly removed. And in any event, as explained

above (at 14-15), the act of removal of CMI during the training process could never give rise to a

claim because training takes place out of public view and training data is not disseminated.

       The Complaint’s failure to allege removal of CMI from a substantially identical copy

further merits dismissal of the § 1202(b)(1) and (b)(3) claims.

III.   PLAINTIFFS’ MISAPPROPRIATION CLAIM IS PREEMPTED BY THE
       COPYRIGHT ACT.

       Plaintiffs’ state-law misappropriation claim should be dismissed as preempted by § 301

of the Copyright Act. See Compl. ¶¶ 226-32 (Count VI). Section 301 preempts “legal or

equitable rights that are equivalent to any of the exclusive rights within the general scope of

copyright … and come within the subject matter of copyright.” 17 U.S.C. § 301(a). It thus

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operates to bar a claim that sounds in copyright but masquerades as a state law tort in order to

avoid copyright law’s limits—for example, the fair-use defense that safeguards a wide range of

interests by inherently limiting the scope of the copyright monopoly.

       Plaintiffs here attempt to avoid preemption by advancing a so-called “hot news” claim,

based on the contention that Defendants misappropriate Plaintiffs’ “time-sensitive breaking

news.” Compl. ¶ 227. The Complaint alleges that “[t]he Publishers gather information, which

often takes the form of time-sensitive breaking news, for their content at a substantial cost to the

Publishers.” Compl. ¶ 227. It then alleges that Bing Chat and Browse with Bing can be used for

“unauthorized retrieval and dissemination of hot news.” Compl. at 49 (capitalization omitted).

In the examples the Complaint provides, Plaintiffs specifically requested either Bing Chat or

Browse with Bing to provide a particular article by a Plaintiff that “may not have been included

in the LLMs’ training set.” Compl. ¶ 114. The notion seems to be that by combining Bing’s

search engine functionality with a GPT-based model, the tool could theoretically retrieve

information from recent news articles not in the training set.

       These allegations fail to plead the sort of “narrow ‘hot-news’ misappropriation claim

[that] survives preemption” under National Basketball Ass’n v. Motorola, Inc., 105 F.3d 841, 852

(2d Cir. 1997). As in NBA, Plaintiffs’ claim here implicates the “subject matter” of copyright—

the first requirement of the preemption analysis. Although Plaintiffs’ news content may include

both “copyrightable” expression and “uncopyrightable events [and] facts,” both of these come

“within the ambit of copyright protection” for preemption purposes. 105 F.3d at 848-49. (Were

it otherwise, a plaintiff could use state law to evade § 102(b) of the Copyright Act’s carefully

drawn limits on protectable subject matter.)




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        As for the second inquiry—whether the claim “involves extra elements” and therefore

asserts rights that are “not the equivalent of exclusive rights under a copyright”—NBA explained

precisely what a plaintiff would need to allege in order to evade preemption: “(i) the time-

sensitive value of factual information, (ii) the free-riding by a defendant, and (iii) the threat to the

very existence of the product or service provided by the plaintiff.” 105 F.3d at 850, 853. The

Complaint’s attempt to make out these elements is woefully deficient. While it references “time-

sensitive” news, the Complaint neither defines that term nor alleges that Defendants’ tools

disseminate that time-sensitive news “precisely at the point where the profit is to be reaped.” Id.

at 851 (internal quotation marks omitted). The Complaint therefore alleges “neither the quantity

of copying nor the immediacy of distribution necessary to sustain a ‘hot’ news claim.” Fin. Info.,

Inc. v. Moody’s Invs. Serv., Inc., 808 F.2d 204, 209 (2d Cir. 1986).

        The story told by the Complaint of years of supercomputer development and training of

models prior to release is inconsistent with the premise that the models are spitting out today’s

news; in fact, it casts considerable doubt on its plausibility. But even if the premise were

plausible, the Complaint’s naked assertions that GPT-based tools “directly compete with the

Publishers’ content,” Compl. ¶ 228, and “has also reduced the Publishers’ incentive to create

such time-sensitive materials,” Compl. ¶ 231, are not. Nothing in the Complaint remotely

substantiates these assertions with real-world facts. The Complaint’s assertion that GPT-based

tools somehow “siphon[] off existing and potential” subscribers, Compl. ¶ 185, falls flat given

the absence of any allegation of any real-world examples of someone using such tools to access

Plaintiffs’ works. See supra 6-7. The Complaint thus fails to allege the GPT-based tools “would

so reduce the incentive to produce” its content “that its existence or quality would be

substantially threatened.” NBA, 105 F.3d at 845.


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       Courts applying NBA have routinely found hot-news claims preempted at the pleading

stage. E.g., ML Genius Holdings LLC v. Google LLC, No. 20-3113, 2022 WL 710744, at *5-6

(2d Cir. Mar. 10, 2022); DBW Partners, LLC v. Mkt. Sec., LLC, No. 22-cv-1333, 2023 WL

2610498, at *5 (D.D.C. Mar. 23, 2023); see also Greer v. Fox News Media, No. 22-1970, 2023

WL 2671796, at *2 (2d Cir. Mar. 29, 2023) (finding preemption as a matter of law). This Court

should do so here.

IV.    PLAINTIFFS’ STATE LAW DILUTION CLAIM IS BARRED BY THE
       DORMANT COMMERCE CLAUSE.

       Plaintiffs’ claim for dilution of business reputation under New York’s Gen. Bus. Law

§ 360-l (Count VIII) must be dismissed because applying state law in the manner Plaintiffs

request would be an unconstitutional attempt to directly regulate transactions with no connection

to the State of New York.

       Under the dormant Commerce Clause of the U.S. Constitution, a state may not “directly

regulate[] out-of-state transactions.” Nat’l Pork Producers Council v. Ross, 598 U.S. 356, 376

n.1 (2023) (emphasis omitted). The Constitution “precludes the application of a state statute”

that directly controls “conduct beyond the boundaries of the State,” thus guarding against

“inconsistent legislation arising from the projection of one state regulatory regime into the

jurisdiction of another State.” Healy v. Beer Inst. Inc., 491 U.S. 324, 336-37 (1989); see also

Edgar v. MITE Corp., 457 U.S. 624, 641 (1982) (declining to enforce an Illinois securities law

that “directly regulate[d] transactions which [took] place ... wholly outside the State”). The

dormant Commerce Clause applies with special force in the context of regulation of the internet,

which “represents an instrument of interstate commerce” that necessarily traverses state lines.

Am. Libraries Ass’n. v. Pataki, 969 F. Supp. 160, 173 (S.D.N.Y. 1997).




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       Courts have accordingly held that state laws regulating internet companies violate the

dormant Commerce Clause when they directly control what the company may show users on a

nationwide basis. In American Booksellers Foundation v. Dean, for example, the Second Circuit

held that a Vermont statute prohibiting the dissemination of “indecent material” to minors

violated the dormant Commerce Clause as well as the First Amendment. 342 F.3d 96, 102-03

(2d Cir. 2003). The Court reasoned that a company providing material on the internet nationwide

“must assume that someone from Vermont may also view the material,” which means that out-of-

state companies “must comply” with the Vermont statute or face liability under Vermont law. Id.

The state had therefore “projected its legislation into other States, and directly regulated

commerce therein, in violation of the dormant Commerce Clause.” Id. at 104 (citation omitted).

Other courts adopt similar reasoning. See ACLU v. Johnson, 194 F.3d 1149, 1161 (10th Cir.

1999) (New Mexico statute prohibiting internet dissemination of “material harmful to minors”

was an “attempt to regulate interstate conduct occurring outside New Mexico’s borders, and is

accordingly a per se violation of the Commerce Clause”); Publius v. Boyer-Vine, 237 F. Supp. 3d

997, 1025 (E.D. Cal. 2017) (state statute that made it unlawful to post online home addresses and

telephone numbers of certain government officials violates the dormant Commerce Clause); Ctr.

for Democracy & Tech. v. Pappert, 337 F. Supp. 2d 606, 663 (E.D. Pa. 2004) (state statute

requiring ISPs to block access to websites displaying child pornography “violates the dormant

Commerce Clause”).

       The same analysis precludes Plaintiffs’ proposed application of New York Gen. Bus. Law

§ 360-l here. Plaintiffs seek to impose liability on Defendants under state law for creating and

operating “GPT-based products” on a nationwide basis that allegedly “produce inaccurate

content that is falsely attributed” to Defendants. Compl. ¶ 253. And they request an injunction


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under state law to preclude Defendants from doing so. Compl. ¶ 254. This is an attempt to

control the interactions between users of generative search technology and Microsoft despite

their lack of any connection to the state of New York. The “GPT-based products” at issue

operate the same way everywhere, by responding to user prompts based on highly sophisticated

models trained on a vast “general corpus” of material. Compl. ¶ 76; see Compl. ¶¶ 72-78. How

the models are trained and how they generate outputs in response to prompts are the same for

users in New York as they are for users in any other state. Thus, Plaintiffs’ theory that the New

York statute can police the content of ChatGPT’s outputs represents an effort to use one state’s

law to directly control nationwide conduct. Count VIII must therefore be dismissed. To the

extent Plaintiffs have any trademark-based claim, it must proceed under federal law.

                                         CONCLUSION

       The Court should grant the partial motion to dismiss in its entirety.

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